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 6   Attorney for Defendant

 7

 8                       IN THE UNITED STATES DISTRICT COURT FOR THE

 9                              EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                      )       No. 2:15-CR-176-TLN
                                                    )           1:15-CR-0242-TLN
12                                                  )
            Plaintiff,                              )       STIPULATION AND ORDER
13                                                  )       CONTINUING ADMIT OR DENY
     v.                                             )       HEARING
14                                                  )
     VUTHIYA TIM,                                   )
15                                                  )       Date: October 31, 2019
                                                    )       Time: 9:30 am.
16
            Defendants.                             )       Judge: Honorable Troy L Nunley
                                                    )
17                                                  )
                                                    )
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19

20          IT IS HEREBY stipulated between the United States of America through its undersigned

21   counsel, Samuel Stefanki, Assistant United States Attorney, attorney for plaintiff and Kyle

22   Knapp, attorney for defendant Vuthiya Tim, that the previously-scheduled Admit or Deny

23   Hearing, currently set for October 24, 2019, be vacated and that the matter be set for the Admit

24   or Deny Hearing on October 31, 2019 at 9:30 a.m.

25          Counsel have conferred and this continuance is requested to further prepare, investigate

26   and work with Mr. Tim’s probation officer to see if there are rehabilitation programs available

27          //

28          //



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 1   that would accept the defendant.
 2   IT IS SO STIPULATED.
 3
     Dated: October 22, 2019                          McGREGOR SCOTT
 4                                                    UNITED STATES ATTORNEY

 5                                              by:   /s/ Samuel Stefanki
                                                      SAMUEL STEFANKI
 6
                                                      Assistant U.S. Attorney
 7                                                    Attorney for Plaintiff

 8

 9
     Dated: October 22, 2019                          /s/ Kyle R. Knapp
                                                      KYLE KNAPP
10                                                    Attorney for Defendant
                                                      Vuthiya Tim
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 1
                                                ORDER
 2
            The Stipulation of the parties is hereby accepted and the requested continuance is
 3
     GRANTED. This matter shall be dropped from this court’s October 24, 2019 criminal calendar
 4
     and re-calendared for admit/deny on October 31, 2019, at 9:30 a.m..
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 7          IT IS SO ORDERED.

 8   DATED: October 22, 2019
 9                                                        Troy L. Nunley
                                                          United States District Judge
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